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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11


Nortel Networks Inc., et al.,1                                           Case No. 09-10138 (KG)

                                                                         (Jointly Administered)
                                       Debtors.
                                                                         RE: Dkt. Nos. 14076 & 14117

       NOTICE OF FILING OF THE EXPERT REPORT OF PAUL WERTHEIM
  IN SUPPORT OF THE MONITOR’S AND CANADIAN DEBTORS’ SUPPLEMENTAL
  OBJECTION TO DEBTORS’ MOTION FOR ENTRY OF AN ORDER PURSUANT TO
 BANKRUPTCY RULE 9019 APPROVING POST-PETITION INTEREST AGREEMENT

         PLEASE TAKE NOTICE that on October 3, 2014, Ernst & Young Inc., the court-

 appointed monitor (the “Monitor”) of Nortel Networks Corporation and certain of its Canadian

 direct and indirect subsidiaries in proceedings under Canada’s Companies’ Creditors

 Arrangement Act, R.S.C. 1985, c. C-36, as amended, pending before the Ontario Superior Court

 of Justice (Commercial List) filed the Report of Dr. Wertheim (the “Wertheim Report”) in

 support of the Monitor’s and Canadian Debtors’ Supplemental Objection to Debtors’ Motion for

 Entry of an Order Pursuant to Bankruptcy Rule 9019 Approving Post-Petition Interest

 Agreement. A true and correct copy of the Wertheim Report is attached hereto as Exhibit A.


                                            [Intentionally left blank]




 1
          The debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification
 number, are: Nortel Networks Inc. (6332); Nortel Networks Capital Corporation (9620); Nortel Altsystems Inc.
 (9769); Nortel Altsystems International Inc. (5596); Xros, Inc. (4181); Sonoma Systems (2073); Qtera Corporation
 (0251); CoreTek, Inc. (5722); Nortel Networks Applications Management Solutions Inc. (2846); Nortel Networks
 Optical Components Inc. (3545); Nortel Networks HPOCS Inc. (3546); Architel Systems (U.S.) Corporation (3826);
 Nortel Networks International Inc. (0358); Northern Telecom International Inc. (6286); Nortel Networks Cable
 Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).
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Dated: October 3, 2014
Wilmington, Delaware

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                                   Attorneys for Ernst & Young Inc., as Monitor
                                   and Foreign Representative of the Canadian
                                   Debtors
